Case 6:17-cv-00182-JRG Document 289 Filed 10/03/18 Page 1 of 3 PageID #: 10307




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

IMPLICIT, LLC                                §
                                             §
v.                                           §
                                             §             Case No. 6:17-cv-182- JRG
HUAWEI TECHNOLOGIES USA, INC.,               §
ET AL                                        §


                 MINUTES FOR FINAL PRETRIAL CONFERENCE
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               OCTOBER 3, 2018


OPEN: 9:02 a.m.                                                 ADJOURN: 4:45 p.m.
 ATTORNEYS FOR PLAINTIFF:                           (See attached)

 ATTORNEYS FOR DEFENDANT:                           (See attached)

 LAW CLERKS:                                        Catherine Owens
                                                    Hao J. Wu

 COURT REPORTER:                                    Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                                  Jan Lockhart

 Time        Minutes
 9:02 a.m.   Counsel announced ready for hearing.
Case 6:17-cv-00182-JRG Document 289 Filed 10/03/18 Page 2 of 3 PageID #: 10308



Time       Minutes
9:07 a.m.  The Court heard argument on the Opposed Sealed Patent Motion to Strike Dr.
           Ugone’s Reliance on Late-Produced Documents and Undisclosed Theories
           Pursuant to Federal Rules of Civil Procedure 26 and 37 filed by Palo Alto
           Networks, Inc. (Dkt. No. 172). Mr. Gibson argued on behalf of Defendant. Mr.
           Hurt argued on behalf of Plaintiff. The Court DENIED the Motion.
9:29 a.m.  The Court heard argument on the Sealed Patent Motion to Exclude Plaintiff Implicit,
           LLC’s Damages-Related Testimony from Dr. Keith Ugone and Dr. Kevin Almeroth
           Under Federal Rule of Evidence 702 and Daubert filed by Palo Alto Networks, Inc.
           (Dkt. No. 203). Mr. Jameson argued on behalf of Defendant. Mr. Hurt argued on
           behalf of Plaintiff.
10:46 a.m. Recess
11:13 a.m. Court reconvened. The Court DENIED the Sealed Patent Motion to Exclude Plaintiff
           Implicit, LLC’s Damages-Related Testimony from Dr. Keith Ugone and Dr. Kevin
           Almeroth Under Federal Rule of Evidence 702 and Daubert filed by Palo Alto
           Networks, Inc. (Dkt. No. 203).
11:19 a.m. The Court heard argument on the Sealed Patent Motion for Summary Judgment of
           Non-Infringement filed by Palo Alto Networks, Inc. (Dkt. No. 201). Mr. Gaudet
           argued on behalf of Defendant. Mr. Singer argued on behalf of Plaintiff.
12:45 p.m. Recess.
1:40 p.m. Court reconvened. The Court ruled on the Sealed Patent Motion for Summary
           Judgment of Non-Infringement filed by Palo Alto Networks, Inc. (Dkt. No. 201).
           For the reasons set forth at the hearing, the Court DENIED the motion.
1:41 p.m. The Court heard argument on the Opposed Sealed Motion to Strike the Rebuttal
           Expert Report of Dr. Douglas Schmidt Regarding Non-Infringement by Implicit,
           LLC filed by Plaintiff (Dkt. No. 188). Mr. Hurt argued on behalf of Plaintiff. Mr.
           Dotson argued on behalf of Defendant. The Court DENIED the motion.
2:09 p.m. The Court indicated, at the parties’ request, that the Motion to Strike (Dkt. No. 180)
           would be decided on the briefing. The Court heard argument on the Opposed
           SEALED Motion to Strike the Rebuttal Expert Report of Dr. Samuel Russ Regarding
           Invalidity filed by Implicit, LLC. (Dkt. No. 187). Mr. Hurt argued on behalf of
           Plaintiff. Mr. Dotson argued on behalf of Defendant. The Court DENIED the
           motion in its entirety.
           The Defendant withdrew the Opposed SEALED PATENT MOTION for Partial
           Summary Judgment Regarding Implicit’s Claims for Damages on Products and
           Services Sold Outside the United States filed by Palo Alto Networks, Inc. (Dkt. No.
           177).
2:27 p.m. Mr. Gaudet addressed outstanding issues. Mr. Davis responded.
2:35 p.m. Recess until 3 p.m.
3:16 p.m. Court reconvened. Ms. Snedeker indicated issues with the Plaintiff’s trial exhibit
           had been resolved with the exception of a few issues. Mr. Dotson and Mr. Singer
           argued as to PTX 460. The Court Ordered that the date be redacted and the
           objection was withdrawn.

                                               2
Case 6:17-cv-00182-JRG Document 289 Filed 10/03/18 Page 3 of 3 PageID #: 10309



Time        Minutes
3:24 p.m.   Ms. Coleman argued as to Plaintiff’s objections to Defendant’s exhibits. Implicit
            withdrew objections to publicly available documents. Ms. Snedeker argued on
            behalf of Defendant. The Court preadmitted DTX exhibits 60-69; 75, 77-78, 81-82,
            87-89, 192, 208, 234, 293, 229, 231, 242; 277, 278, 302, and 504.
            The Court preadmitted the textbooks portions of DTX 72 and 92 to be used by Dr.
            Schmidt at trial.
            The Court preadmitted the following publicly available documents from licensees
            of Implicit: DTX: 83, 84, 85, 91, 209, 210, 211, 212, 213, 214, 240, 289, 458, 501,
            116, 119, 121, 122, 123 and 124 for the limited purposes discussed at the hearing.
            The Court preadmitted DTX 142-144--E-mails subject to Rule 408 communications.
            File history exhibit objections to Defendant’s exhibits argued by Mr. Singer for
            Plaintiff. Ms. Snedeker argued. The Court preadmitted file histories but the
            parties are to approach the bench before use
            The Court preadmitted DTX-221 Covenant not to sue with F5.
4:02 p.m.   Recess
4:21 p.m.   Court reconvened. The Court heard argument as to Plaintiff’s objections to Implicit
            pleadings and infringement contentions from prior suits. (DTX 193, 217, 236, 237,
            267, 275, 276, 311, 312, 313-314, 448, 449, 535-540). Ms. Coleman and Ms.
            Snedeker argued.
            The Court addressed and heard argument with respect to Plaintiff’s objection to DTX
            70. Ms. Coleman and Mr. Gaudet argued. The Court sustained the objection.
4:33 p.m.   The parties are to Email the final trial exhibit lists to the Courtroom Deputy
            (jan_lockhart@txed.uscourts.gov).
4:34 p.m.   Mr. Gaudet addressed the Court re the Balassanian deposition. Mr. Davis
            responded
4:39 p.m.   The Court authorized a 1-hour deposition of Mr. Balassanian, in Austin, Texas.
            Costs for opposing counsel’s attendance at the deposition to be paid by Defendants.
            The deposition is limited to the four corners of documents identified as part of the
            pretrial conference.
4:45 p.m.   Court adjourned.




                                              3
